452 F.2d 1014
    72-1 USTC  P 9210
    NATIONAL BANK OF NORTH AMERICA, Plaintiff-Appellee,v.S.S. OCEANIC ONDINE, S.S. CHATHAM, S.S. OCEANIC VICTORY, andResolute Marine Associates, Ltd., Defendants,United States of America, Intervenor-Appellant.
    No. 71-2206.
    United States Court of Appeals,Fifth Circuit.
    Jan. 4, 1972.
    
      Anthony J. P. Farris, U. S. Atty., Houston, Tex., Fred B. Ugast, Acting Asst. Atty. Gen., Meyer Rothwacks, John M. Wood, Attys., Dept. of Justice, Tax Div., Washington, D. C., for intervenor-appellant.
      Edward W. Watson, Galveston, Tex., for plaintiff-appellee.
      Before WISDOM, COLEMAN and SIMPSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      The primary proceeding below was brought by the National Bank of North America to foreclose a preferred ship's mortgage on the vessels named in the caption.  The United States intervened, seeking priority as the assignee of unpaid wage claims of several seamen and their unions.  The United States appeals from the district court's holding that its claim was for "taxes" and not "wages" and therefore not entitled to priority.  The judgment below awarded all remaining funds in the registry of the court to the National Bank of North America.1
    
    
      2
      We are not persuaded that the lower court reached an erroneous conclusion.  The judgment is
    
    
      3
      Affirmed.
    
    
      
        1
         Reported at 335 F.Supp. 71
      
    
    